
PETERS, J.
11 For the reasons assigned in Rebel Distributors, Inc. et al. v. LUBA Workers’ Comp. et al., 12-909 (La.App. 3 Cir. 3/6/13), 129 So.3d 80, we reverse the judgment of the workers’ compensation judge and render judgment in favor of Juan Bur-ciaga, Sr. General Contractor, LLC and LUBA Casualty Insurance Company, granting their peremptory exception of no right of action and dismissing the claims of Rebel Distributors Corporation, Inc. d/b/a Physician Partner and Pharmacy Partner. We assess all costs of this appeal against Rebel Distributors Corporation, Inc. d/b/a Physician Partner and Pharmacy Partner.
REVERSED AND RENDERED.
